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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


VOIP-PAL.COM, INC.

              Plaintiff,

       v.
                                                    CIVIL ACTION NO. 6:21-cv-1246-ADA
SAMSUNG ELECTRONICS CO., LTD., et
al.,


               Defendants.

                             CLAIM CONSTRUCTION ORDER

       Before the Court are the Parties’ claim construction briefs: Defendants Samsung

Electronics Co., Ltd., Samsung Austin Semiconductor LLC, and Samsung Electronics America,

Inc.’s (“Samsung”) Opening Claim Construction Brief (ECF No. 34), Plaintiff VOIP-PAL.com,

Inc.’s Responsive Claim Construction Brief (ECF No. 35), Defendants’ Reply Claim

Construction Brief (ECF No. 38), Plaintiffs’ Sur-Reply (ECF No. 41), and the Joint Claim

Construction Statement (ECF No. 43). On January 3, 2023, the Court provided the parties with

its Preliminary Claim Constructions, and on January 4, 2023, the Court held a Markman hearing.

The Court issues this Order to memorialize the Court’s final claim construction rulings for the

parties, and to inform the parties that the Court plans to issue a more-detailed Order explaining

its analysis in due course. The deadline to file any objections to the undersigned’s claim

construction rulings (pursuant to Federal Rules of Civil Procedure 59 and 72) do not need to be

filed until 14 days after that more fulsome Order is entered upon the docket.

SIGNED this 4th day of January, 2022.

                                                       __________________________________
                                                       Derek T. Gilliland
                                                       United States Magistrate Judge


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I. AGREED-UPON CLAIM TERMS:

                           Claim Term                           Agreed Constructions (adopted by the Court)

          “means for receiving, from a user of the mobile   Governed by 35 U.S.C. § 112 ¶ 6
          telephone, a callee identifier” (’234 Patent,
          Claim 11)                                         Function: receiving, from a user of the mobile
                                                            telephone, a callee identifier

                                                            Structure: a dialing input, which is a key pad,
                                                            a voice recognition unit, or a parameter memory
                                                            with prestored callee identifiers

          “means for transmitting an access code            Governed by 35 U.S.C. § 112 ¶ 6
          request message to an access server” (’234
          Patent Claim 11; ’721 Patent, Claim 20)           Function: transmitting an access code request
                                                            message to an access server

                                                            Structure: a network interface

          “means for receiving an access code reply         Governed by 35 U.S.C. § 112 ¶ 6
          message from the access server in response to
          [said/the] access code request message” (’234     Function: receiving an access code reply
          Patent, Claim 11; ’721 Patent, Claim 20)          message from the access server in response to
                                                            [said/the] access code request message

                                                            Structure: a network interface

          “means for receiving from the mobile              Governed by 35 U.S.C. § 112 ¶ 6
          telephone [said/an] access code request
          message” (’234 Patent, Claims 19, 46)             Function: receiving from the mobile telephone
                                                            [said/an] access code request message

                                                            Structure: a network interface


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“means for transmitting [said/an/the] access    Governed by 35 U.S.C. § 112 ¶ 6
code reply message including [said/the]
access code to the [mobile telephone/wireless   Function: transmitting [said/an/the] access
apparatus]” (’234 Patent, Claims 19, 46; ’721   code reply message including [said/the]
Patent, Claims 34, 77)                          access code to the [mobile telephone/wireless
                                                apparatus]

                                                Structure: a network interface

“gateway” (’721 Patent, Claims 1, 20, 38, 51, Plain and ordinary meaning (i.e., a device
77, 103)                                      capable of carrying a communication between
                                              distinct networks)

“means for receiving from a user of the         Governed by 35 U.S.C. § 112, ¶ 6
wireless apparatus a destination node
identifier” (’721 Patent, Claim 20)             Function: receiving from a user of the wireless
                                                apparatus a destination node identifier

                                                Structure: a dialing input, which is a key pad,
                                                a voice recognition unit, or a parameter memory
                                                with prestored callee identifiers

“means for causing the wireless apparatus to    Governed by 35 U.S.C. § 112, ¶ 6
establish communications with the
destination node through the communications     Function: causing the wireless apparatus to
channel identified by the access code in the    establish communications with the destination
access code reply message” (’721 Patent,        node through the communications channel
Claim 20)                                       identified by the access code in the access code
                                                reply message

                                                Structure: a processor of the wireless apparatus




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              “means for receiving from the wireless            Governed by 35 U.S.C. § 112, ¶ 6
              [apparatus/device] [the/an] access code
              request message” (’721 Patent, Claims 34,         Function: receiving from the wireless
              77)                                               [apparatus/device] [the/an] access code request
                                                                message

                                                                Structure: a network interface


II. DISPUTED CLAIM TERMS (ALL TERMS RAISED BY DEFENDANTS):

    Claim Term             Plaintiff’s Construction       Defendants’ Construction           Court’s Final Construction
 “access code” (’234     Plain and ordinary meaning,     Samsung Proposed                Plain and ordinary meaning, which is
 Patent, Claims 1,       which is a code used to grant   Construction:                   a code used to grant access
 10, 11, 19-21, 25,      access
 28, 30-33, 38, 40,                                      “code temporarily associated
 43, 45-48, 54, 61,                                      with the callee identifier”
 62, 64, 65, 70, 72,
 75; ’721 Patent,                                        Huawei’s Proposed
 Claims 1, 14, 16,                                       Construction:
 20, 34, 38, 39, 46,
 49-51, 57, 73, 77,                                      “code used by the [mobile
 103, 104, 109, 110,                                     telephone / wireless device /
 124, 130, 135, 138-                                     wireless apparatus] in place
 40)                                                     of the [callee identifier /
                                                         destination node identifier]”

 “pool of access         Plain and ordinary meaning      “table containing access        Plain and ordinary meaning.
 codes” (’234 Patent,                                    codes for exclusive
 Claims 1, 11, 20,                                       association with a [callee
 30, 38, 46, 54, 62,                                     identifier / destination node
 70; ’721 Patent,                                        identifier]”



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   Claim Term               Plaintiff’s Construction        Defendants’ Construction         Court’s Final Construction
Claims 63, 109)

“a respective             Plain and ordinary meaning       Indefinite                    Plain and Ordinary Meaning. The
telephone number                                                                         Claim is not indefinite.
or Internet Protocol
(IP) network
address [that
enables a local call
to be made to call
the callee identified
by the callee
identifier]” (’234
Patent, Claims 1,
11, 20, 30, 46, 62)
                          A call treated as ‘local’ (for   Plain and ordinary meaning    A call treated as ‘local’ (for example,
“local call” (’234
                          example, as opposed to long      (i.e., call within the PSTN   as opposed to long distance) by a
Patent, Claims 1,
                          distance) by a service           local calling area of the     service provider.
11, 20)
                          provider.                        mobile telephone)             Not limited to PSTN.
                          Not limited to PSTN.

                          Governed by 35 U.S.C.            Governed by 35 U.S.C.         Governed by 35 U.S.C. §112, ¶6
“means for
                          §112, ¶6                         §112, ¶6
initiating a call
using said access
                          Function: initiating a call      Function: initiating a call   Function: initiating a call using said
code to identify the
                          using said access code to        using said access code to     access code to identify the callee.
callee” (’234 Patent,
                          identify the callee.             identify the callee
Claim 11)
                                                                                         Structure: A processor (of the
                          Structure: Mobile wireless       Structure: a processor (of    Mobile wireless device 12)
                          device 12 having a               the mobile telephone)         programmed to implement the
                          microprocessor 52                                              algorithm illustrated in FIG. 3, which
                          programmed to implement          At the Markman hearing, the   includes block 149 labeled “Initiate


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   Claim Term            Plaintiff’s Construction        Defendants’ Construction          Court’s Final Construction
                       the algorithm illustrated in     Defendants proposed the        voice/video call using access code.”
                       FIG. 3, which includes block     following revised
                       149 labeled “Initiate            construction:
                       voice/video call using access
                       code.” The wireless device       Governed by 35 U.S.C.
                       12 includes I/O port(s) 56       §112, ¶ 6
                       capable of acting as an
                       interface to external            Function: initiating a call
                       networks (70, 72, 15, 16).       using said access code to
                       See FIG. 2.                      identify the callee.

                                                        Structure: A processor (of
                                                        the Mobile wireless device
                                                        12) programmed to
                                                        implement the algorithm
                                                        illustrated in FIG. 3, which
                                                        includes block 149 labeled
                                                        “Initiate voice/video call
                                                        using access code.”
                       Governed by 35 U.S.C.            Governed by 35 U.S.C.          Governed by 35 U.S.C. §112, ¶6
“means for
                       §112, ¶6                         §112, ¶6
communicating with
[said/the] routing
                       Function: communicating          Function: communicating        Function: communicating with
controller to obtain
                       with [said/the] routing          from the mobile telephone      [said/the] routing controller to obtain
from [said/the]
                       controller to obtain from        with said routing controller   from [said/the] routing controller
routing controller
                       [said/the] routing controller    to obtain from said routing    [said/the] access code
[said/the] access
                       [said/the] access code           controller said access code
code” (’234 Patent,
Claim 19; ’721
                       Structure: An I/O port of an     Structure: a network           Structure: An I/O port of an access
Patent, Claim 34)
                       access server, an I/O port of    interface (of the access       server, an I/O port of a routing
                       a routing controller and/or at   server)                        controller and/or at least one



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   Claim Term             Plaintiff’s Construction        Defendants’ Construction            Court’s Final Construction
                        least one processor (e.g., 152                                    microprocessor (e.g., 152 in Figure 6)
                        in Figure 6) performing a
                        method equivalent to process
                        190, including block 196, in
                        Figure 7, to transmit a
                        request to the routing
                        controller.
                        Governed by 35 U.S.C.             Governed by 35 U.S.C.           Governed by 35 U.S.C. §112, ¶6
“means for
                        §112, ¶6                          §112, ¶6
producing an access
                                                                                          Function: producing an access code
code” (’234 Patent,
                        Function: producing an            Function: producing an
Claim 46)
                        access code                       access code                     Structure: Access server 14 and/or
                                                                                          routing controller 30 having a
                        Structure: Access server 14       Structure: a processor (of      microprocessor (152 or 232)
                        and/or routing controller 30      the routing controller) with
                        having a microprocessor           searching access to a pool of
                        (152 or 232) programmed to        access codes
                        implement the algorithm
                        illustrated in Fig. 7 including
                        step 196 and/or Fig. 12.

“means for causing      Governed by 35 U.S.C.             Governed by 35 U.S.C.           Governed by 35 U.S.C. §112, ¶6
a routing controller    §112, ¶6                          §112, ¶6
to produce an access                                                                      Function: causing a routing
code identifying a      Function: causing a routing       Function: producing an          controller to produce an access code
communications          controller to produce an          access code identifying a       identifying a communications
channel on a            access code identifying a         communications channel on       channel on a gateway through which
gateway through         communications channel on         a gateway through which         communications between the wireless
which                   a gateway through which           communications between the      device and the destination node can
communications          communications between the        wireless device and the         be conducted
between the             wireless device and the           destination node can be



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   Claim Term            Plaintiff’s Construction      Defendants’ Construction        Court’s Final Construction
wireless device and    destination node can be        conducted
the destination node   conducted                                                   Structure: Access server 14 and/or
can be conducted”                                     Structure: a processor (of   routing controller 30, a network
(’721 Patent, Claim    Structure: Access server 14 the access server)              interface (e.g., 156) and at least one
77)                    and/or routing controller 30                                processor (e.g., 152 in Figure 6)
                       having a network interface
                       (e.g., 156) and at least one
                       processor (e.g., 152 in Figure
                       6) performing a method
                       equivalent to process 190,
                       including block 196, in
                       Figure 7, to transmit a
                       request to the routing
                       controller 30; and/or at least
                       one network interface (e.g.,
                       236) and processor (e.g., 232
                       in Figure 8) to receive and
                       process a request to produce
                       an access code identifying a
                       communications channel.




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